                   Case 18-50359-KG              Doc 22      Filed 07/02/18         Page 1 of 4



                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                         Chapter 11

EMERALD OIL, INC., et al.,1                                    Case No. 16-10704 (KG)
                                                               (Jointly Administered)
                                    Debtors.


EMERALD OIL, INC.,

                                    Plaintiff,

                  v.

Black Gold Contractors, LLC,                                   Adv. Proc. No. 18-50356 (KG)
Chantz Nelson dba CN Trucking,                                 Adv. Proc. No. 18-50358 (KG)
Double EE Service & Supply Co.,                                Adv. Proc. No. 18-50359 (KG)

                                    Defendants.



         STATUS REPORT WITH RESPECT TO CERTAIN ADVERSARY MATTERS

                  Emerald Oil, Inc. (the “Plaintiff”), in the above-referenced cases, hereby submits

this status report pursuant to the scheduling order.

                  Attached hereto is the status for the above-referenced cases associated with

Emerald Oil, Inc., et al., Case No. 16-10704 (KG).




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Emerald Oil, Inc. (9000); Emerald DB, LLC (2933); Emerald NWB, LLC (7528); Emerald WB
LLC (8929); and EOX Marketing, LLC (4887). The location of the Debtors’ service address is: 200 Columbine
Street, Suite 500, Denver, Colorado 80206.



DOCS_DE:218289.3 33152/004
                  Case 18-50359-KG   Doc 22       Filed 07/02/18   Page 2 of 4




Dated: July 2, 2018                     PACHULSKI STANG ZIEHL & JONES LLP

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                                              2
DOCS_DE:218289.3 33152/004
                                   Case 18-50359-KG   Doc 22      Filed 07/02/18    Page 3 of 4




STATUS CATEGORY F: List all cases where service is complete, answer has been filed, discovery/disclosures are underway, and
expected date of completion of discovery/disclosure.


 Adv. Case         Defendant(s) Name                    Fact        Expert         Comment
   No.                                                Discovery     Discovery
                                                      End Date      End Date

   18-50356        Black Gold Contractors, LLC         9/15/18        2/12/19      Plaintiff served initial disclosures on
                                                                                   6/18/18. Defendant served initial
                                                                                   disclosures on 6/14/18.

                                                                                   Plaintiff served discovery on 6/27/18.
                                                                                   Defendant’s responses are due 7/27/18.
                                                                                   Defendant served discovery on 6/14/18.
                                                                                   Plaintiff’s responses are due 7/16/18.

   18-50358        Chantz Nelson dba CN Trucking         N/A            N/A        A stipulation tolling discovery until after the
                                                                                   conclusion of mediation was filed on
                                                                                   6/14/18 [Docket No. 11].




DOCS_DE:218289.3 33152/004
                                    Case 18-50359-KG     Doc 22   Filed 07/02/18   Page 4 of 4




STATUS CATEGORY G: Mediator has been selected or appointed.


 Adv. Case No.          Defendant(s) Name                     Electronic Text Comment

      18-50359          Double EE Service & Supply Co.        Ian Connor Bifferato has been appointed mediator in this case.




DOCS_DE:218289.3 33152/004
